






NO. 07-05-0222-CR



IN THE COURT OF APPEALS



FOR THE SEVENTH DISTRICT OF TEXAS



AT AMARILLO



PANEL C



NOVEMBER 1, 2005


______________________________



RANDY BRAZEAL,



									Appellant


v.



THE STATE OF TEXAS,



									Appellee

_________________________________



FROM THE 47TH DISTRICT COURT OF RANDALL COUNTY;



NO. 16,715-A; HON. HAL MINER, PRESIDING


_______________________________



ORDER OF DISMISSAL


_______________________________



Before QUINN, C.J., and REAVIS and HANCOCK, JJ.

	Appellant, Randy Brazeal, appeals his theft conviction.  However, the record does
not contain a certification of his right to appeal as required by Texas Rule of Appellate
Procedure 25.2(d).  By letter dated September 9, 2005, this court notified the trial court,
the district clerk, the district attorney and appellant's attorney of this omission and the need
for the certification.  More than 45 days have lapsed since all were notified of these
circumstances, and the certification has yet to be filed.  Consequently, we dismiss the
appeal.  See Tex. R. App. P. 25.2(d) (requiring that the appeal be dismissed if a
certification that shows that the defendant has a right to appeal has not been made part
of the record).

	Accordingly, the appeal is dismissed.


							Per Curiam


Do not publish.

















		



style="text-align: center"&gt;IN THE COURT OF APPEALS

FOR THE SEVENTH DISTRICT OF TEXAS

AT AMARILLO

PANEL A

SEPTEMBER 30, 2009
______________________________

IN RE THIRTY-FOUR GAMBLING DEVICES AND SIX HUNDRED
AND THIRTY NINE DOLLARS IN UNITED STATES CURRENCY
_______________________________


Before CAMPBELL and HANCOCK and PIRTLE, JJ.
OPINION
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Relators, Michelle Medrano and Johnny Shannon,


 have brought a mandamus
action against the Honorable John Board, Judge of the 181st District Court of Randall
County, Texas, seeking an order from this Court ordering Judge Board to proceed to trial
on the underlying forfeiture action.


 Having determined that Relators have not shown
themselves entitled to mandamus relief, we will deny the application.
&nbsp;
&nbsp;
Factual &amp; Procedural Background
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The underlying cause of action arose out of the seizure of certain items of personal
property


 and an amount of cash from an establishment known as “The Other Place” in
Randall County, Texas, pursuant to the execution of a search warrant on June 24, 2003. 
Subsequently, on June 11, 2004, the State, real party in interest, filed a petition seeking
to forfeit the seized property pursuant to the Texas Code of Criminal Procedure.  See Tex.
Code Crim. Proc. Ann. art. 18.18 (Vernon Supp. 2008).


  Notice of the setting of a hearing
on the issue of the forfeiture of the property was given on June 30, 2004.  The notice
provided that the hearing would occur on July 19, 2004.  One day prior to the original
hearing date, Relator Medrano filed a Plea in Abatement and Motion for Continuance
objecting to the court’s notice.  The court granted the motion for continuance, reset the
hearing for a later date, and issued a second notice


 pursuant to article 18.18.  See art.
18.18.  At a pretrial hearing, Judge Board indicated that his intent was to proceed to trial
on the “Court’s notice.”  Subsequently, the trial court heard the matter and entered a
judgment dated September 2, 2004.  The trial court appears to have intended to enter
judgment in a new cause number, Cause No. 54,834-B.  However, the judgment was
actually entered in Cause No. 53,716-B, the cause initiated by the real party in interest’s
original petition.  Notice of appeal of the “judgment entered in Cause No. 54,834-B” was
given on November 11, 2004.  This Court dismissed the appeal for want of jurisdiction, as
there was no judgment actually entered in Cause No. 54,834-B.


  See In re Thirty-four
Gambling Devices, No. 07-04-0548-CV, 2006 Tex.App. LEXIS 775, at *8
(Tex.App.–Amarillo Jan. 30, 2006, no pet.) (memo. op.).  The Court’s mandate was issued
February 5, 2006.  
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The real party in interest requested a trial setting by letter addressed to Judge Board
on November 29, 2006, in Cause No. 54,834-B.  By letter dated August 21, 2007, Judge
Board advised all parties that the matter was set for final hearing on October 30, 2007. 
Relator Shannon filed a motion for continuance on October 24, 2007.  On October 30,
2007, Shannon filed another motion for continuance, supported by the affidavit of 
Shannon, a motion to dismiss for lack of prosecution, and a plea to the jurisdiction and plea
in bar.


  The motion for continuance was granted on October 30, 2007, and Judge Board
requested briefing on the other motions.  On January 2, 2008, real party in interest
requested a final hearing.  On January 7, 2008, Judge Board denied Shannon’s plea to the
jurisdiction and plea in bar.  On January 16, 2008, Relators filed a motion to recuse Judge
Board.  On May 29, 2008, Relators filed a motion to dismiss for failure to immediately set
the motion to recuse.  On June 3, 2008, Judge Bryan Poff denied the motion to recuse.


 
Again, on June 3, 2008, the real party in interest filed a request that the matter be set for
trial.  Relators filed another motion to dismiss for failure to prosecute on June 16, 2009. 
Judge Board set a hearing on the motion to dismiss for July 21, 2009.  On July 29, 2009,
Judge Board denied the motion to dismiss.  Prior to Judge Board’s ruling on the motion to
dismiss, Relators filed a motion to exclude alleging that the search warrant giving rise to
the case should be excluded from evidence.  The motion to exclude was scheduled for
hearing on October 22, 2009.  Prior to that hearing, Relators filed their original application
for mandamus on August 17, 2009.  The real party in interest filed its response to the
application for mandamus on August 31, 2009.  Relators filed an amended application for
mandamus on September 1, 2009 and a response to the real party in interest’s response
on September 9, 2009.
Standard of Review
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Courts of appeals have appellate jurisdiction as specified in article V, section 6, of
the Texas Constitution, together with such other original and appellate jurisdiction as may
be prescribed by law. Tex. Const. art. V, § 6.  Courts of appeals have jurisdiction to issue
writs of mandamus.  Tex. Gov’t Code Ann. § 22.221(b)(1) (Vernon 2004)
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Mandamus is a legal remedy, Westerman v. Mims, 111 Tex. 29, 227 S.W. 178, 181
(1921), even though equitable principles apply.  In re Int’l Profit Assocs., Inc., 274 S.W.3d
672, 676 (Tex. 2009).  A writ of mandamus is an extraordinary remedy that will issue only
to correct a clear abuse of discretion or the violation of a duty imposed by law, when there
is no other adequate remedy by law.  In re CSX Corp., 124 S.W.3d 149, 151 (Tex. 2003). 
Relators seeking issuance of a writ of mandamus based on the violation of a legal duty
must show: (1) a legal duty to perform a non-discretionary act; (2) a demand for
performance; and (3) a refusal to act.  O’Connor v. First Court of Appeals, 837 S.W.2d 94,
97 (Tex. 1992).  Fundamental requirements of due process mandate an opportunity to be
heard.  Creel v. Dist. Att’y for Medina County, 818 S.W.2d 45, 46 (Tex. 1991).  Requiring
a district court to proceed to trial on a matter is supportable by a mandamus action. 
Kissam v. Williamson, 545 S.W.2d 265, 267 (Tex.Civ.App.–Tyler 1976, orig. proceeding).
Analysis
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Relators contend that, when Judge Board denied their motion to dismiss, he made
a decision to “maintain the case on the docket” and, therefore, was required to issue a
pretrial order assigning a trial date.  Relators cite the Court to Texas Rule of Civil
Procedure 165a(1) as authority for this proposition.  See Tex. R. Civ. P. 165a(1).


  Rule
165a(1) states, in pertinent part,
1. Failure to appear. A case may be dismissed for want of prosecution on
failure of any party seeking affirmative relief to appear for any hearing or trial
of which the party had notice . . . .  If the court determines to maintain the
case on the docket, it shall render a pretrial order assigning a trial date for
the case . . . .
&nbsp;
Id. 
&nbsp;
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The record before this Court reflects that the party seeking affirmative relief, the real
party in interest, has appeared at every setting for which the trial court has issued notice. 
Moreover, Judge Board did not set this matter for consideration on a dismissal docket,
rather, the record affirmatively reflects that Relators are basing their demand on the hearing
of their motion to dismiss.  Therefore, we find their reliance upon Rule 165a(1) to be
misplaced.  See Alexander v. Lynda’s Boutique, 134 S.W.3d 845, 850-51 (Tex. 2004). 
Accordingly, Relators have not shown that Judge Board failed in a ministerial duty pursuant
to the Rule.  
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;However, this does not end our inquiry.  Alternatively, Realtors maintain  that the trial
court “failed to cause either a hearing to be had within twenty days as mandated by the
procedures of article 18.18 or the State failed to create and cause to be entered a
Judgment on the Art. 18.18 Show Cause Hearing that was had pursuant to the notice
issued by Magistrate Board on July 26, 2004."  See art. 18.18.  First, article 18.18 does not
mandate that a hearing be held within 20 days.  Id.  Article 18.18(e) does direct that a
person interested in the property at issue (here, “Thirty-Four Gambling Devices and Six
Hundred and Thirty Nine Dollars in United States Currency”) appear before the 20th day
following issuance of the article 18.18(b) notice or risk forfeiture of any interest in that
property.  See art. 18.18(e).  Following appearance, the trial court must conduct a hearing
on the issue and determine the nature of the property and the person’s interest therein. Id. 
 At that hearing, the person interested in the property must prove by a preponderance of the
evidence that the property is not subject to disposition pursuant to article 18.18 and that he
is entitled to possession.  Id.  At the conclusion of that hearing, the magistrate shall dispose
of the property or proceeds in accordance with article 18.18(a).  See art. 18.18(a).  The
record reflects that a hearing was scheduled pursuant to the article and that Relator Moreno
filed a motion to continue the original hearing.  Because Relators have the burden to prove
entitlement to the property, any motion to dismiss for lack of prosecution does not “clearly
contain,” by operation of law or otherwise, a request that the Magistrate set the matter for
trial.  O’Connor, 837 S.W.2d at 97.  
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Judge Board held the required hearing and, at the conclusion, it appears he
attempted to enter a judgment, however, due to the confusion as to the cause number, the
judgment was not entered in the surviving case.  Of greater import is the state of the record
regarding the actions of Relators.  The record reflects that Relators have filed at least two
motions for continuance, one before the initial hearing and one after this Court’s mandate
issued.  In addition, Relators have filed three other dilatory motions, including a motion to
recuse Judge Board.  Based upon the failure of Relators to request Judge Board to set the
matter for final hearing before or after he ruled upon their motion to dismiss for want of
prosecution, we cannot say Relators have ever made a demand for the Judge to perform
his legal duty to set the matter for trial.  See id.  Accordingly, we cannot grant the
mandamus based upon Relators’ alternate theory.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Additionally, the record before this Court reflects that at least two requests for
setting have been made by the real party in interest and that those requests have now been
outstanding for more than a year.  At the time of each request, Relators have responded
with either a motion for continuance or other dilatory pleading.  Relators’ course of action
leads to an inescapable conclusion that Relators did not truly desire a trial.  It is of no legal
significance that the real party in interest has requested trial settings because Relators must
meet the burden of showing their entitlement to mandamus relief based upon their action. 
See In re Chavez, 62 S.W.3d 225, 229 (Tex.App.–Amarillo 2001, orig. proceeding).
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Finally, in the amended application for mandamus, Relators have requested that we
address a number of other issues that relate to the underlying cause of action.  To support
this proposition, Relators have cited the Court to In re Colonial Pipeline Co., 968 S.W.2d
938, 943 (Tex. 1998).  While we have the discretionary authority to consider these other
issues, we have denied the request for mandamus and, therefore, see no reason to do so. 
Conclusion
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Relators’ application for mandamus is denied. 
&nbsp;
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Mackey K. Hancock

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Justice

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